  Case 18-25344        Doc 19    Filed 12/03/18 Entered 12/03/18 12:50:55           Desc Main
                                   Document     Page 1 of 4

                   UNITED STATES BANKRUPTCY COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION
In re:                                       )      Chapter 7
                                             )
JERMAINE J FREEMAN and                       )      Bankruptcy No. 18 B 25344
ANJEL R FREEMAN,                             )
                                             )
                           Debtors.          )      Honorable Timothy A. Barnes

                                      NOTICE OF MOTION

To:      Jermaine J Freeman and Anjel R Freeman, 4818 W Jackson Blvd 2nd Fl, Chicago, IL 60644
         Elizabeth Placek, The Semrad Law Firm, Llc, 20 S. Clark 28th Floor, Chicago, IL 60603*
         United States Trustee Patrick S. Layng, Office of the United States Trustee, 219 South
         Dearborn Street, Suite 873, Chicago, IL 60604*

        PLEASE TAKE NOTICE that on Tuesday, December 11, 2018, at 10:00 a.m., we will
appear before the Honorable Timothy A. Barnes or such other Judge as may be presiding in that
Judge’s stead, in courtroom 744, Everett McKinley Dirksen United States Courthouse, 219 South
Dearborn Street, Chicago, IL 60604, and present our Trustee’s Motion to Extend Time to Object
to Exemptions and Discharge, a copy of which is attached hereto and served upon you herewith.

THE APPENDED PROPOSED ORDER MAY BE ENTERED BY THE JUDGE
WITHOUT PRESENTMENT IN OPEN COURT UNLESS A PARTY IN INTEREST
NOTIFIES THE JUDGE OF AN OBJECTION THERETO.

Date: December 3, 2018                       DAVID P. LEIBOWITZ, not individually, but as
                                             the Chapter 7 Trustee of the Debtor’s Estate

                                             By:   /s/ David P. Leibowitz
                                                    David P. Leibowitz (ARDC # 1612271)
                                                    Law Offices of David P. Leibowitz, LLC
                                                    53 West Jackson Boulevard, Suite 1115
                                                    Chicago, IL 60604
                                                    (312) 360-1501

                                 CERTIFICATE OF SERVICE

        On December 3, 2018, the undersigned certifies that on this date, she caused a copy of the
above document to be served upon each person shown on the within Notice, by United States Mail,
with postage prepaid, at Chicago, Illinois. Those marked with an * were served via the Court’s ECF
System.
                                                        /s/ Rachel A. Leibowitz
                                                            Paralegal
    Case 18-25344         Doc 19       Filed 12/03/18 Entered 12/03/18 12:50:55                     Desc Main
                                         Document     Page 2 of 4


                      UNITED STATES BANKRUPTCY COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION
In re:                                               )        Chapter 7
                                                     )
JERMAINE J FREEMAN and                               )        Bankruptcy No. 18 B 25344
ANJEL R FREEMAN,                                     )
                                                     )
                               Debtors.              )        Honorable Timothy A. Barnes

                    TRUSTEE’S MOTION TO EXTEND TIME TO OBJECT
                          TO EXEMPTIONS AND DISCHARGE

         David P. Leibowitz (“Trustee”), not individually but as the chapter 7 trustee of the estate of

Jermaine J Freeman and Anjel R Freeman (“Debtors”), hereby moves for an order extending the time

for the Trustee to timely object to exemptions and to discharge to and including March 3, 2019.1 In

support, the Trustee states the following:

                                     JURISDICTION AND VENUE

         1.    This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1334 and venue is

proper pursuant to 28 U.S.C. § 1408.

         2.    By Local Rule 40.3.1(a) of the United States District Court for the Northern District of

Illinois, the District Court has referred all bankruptcy cases to the Bankruptcy Court for initial

determination, as permitted by 28 U.S.C. § 157(a).

         3.    This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (O).

                         FACTUAL AND PROCEDURAL BACKGROUND

         4.      Debtors filed a voluntary chapter 7 petition on September 7, 2018.

         5.      David P. Leibowitz is the duly appointed, qualified, and acting chapter 7 trustee in this

case.



1 All chapter, section and rule references, unless otherwise noted, are to the Bankruptcy Code, 11 U.S.C. §§ 101-1532
(“Bankruptcy Code”), and the Federal Rules of Bankruptcy Procedure, Rules 1001-9037 (“Bankruptcy Rules”).
  Case 18-25344        Doc 19     Filed 12/03/18 Entered 12/03/18 12:50:55              Desc Main
                                    Document     Page 3 of 4


        6.      The §341 meeting of creditors was held on October 4, 2018, and was continued to

November 2, 2018. The Trustee requested 90 days of bank statements from all of Debtors’ bank

accounts, which he has since received.       The Trustee followed-up with the Debtors’ attorney,

requesting explanations for several non-payroll deposits as well as large withdrawals from one of the

accounts. The Trustee has not yet received the explanations requested. For these and other reasons,

the Trustee requires additional time to obtain and review information and to further investigate and

evaluate whether or not grounds may exist for an objection to the Debtor’s discharge and/or

exemptions.

                                      RELIEF REQUESTED

        7.      The Trustee requests that the Court extend the date by which the Trustee may timely

object to Debtor’s exemptions to and including March 3, 2019. He further requests that the Court

extend the date by which the Trustee may timely object to the Debtor’s discharge under §727 of the

Bankruptcy Code to and including March 3, 2019.

                               BASIS FOR RELIEF REQUESTED

        8.    Under Rule 4003(b), objections to the debtor’s claim of exemptions must be filed within

30 days after the § 341 meeting is concluded or within 30 days after any amendment to the list of

exemptions or supplemental schedules is filed, whichever is later. However, the court may, for cause,

extend the time for filing objections, if the request for extension is filed prior to expiration of the

deadline.

        9.    Under Rule 4004, a complaint objecting to the debtor’s discharge must be filed not later

than 60 days following the first date set for the meeting of creditors under §341. However, the court

may, for cause, extend that deadline on motion filed prior to its expiration.

        10.   This motion is filed prior to expiration of the deadline for objections to exemptions and

prior to expiration of the deadline for objections to discharge.
  Case 18-25344        Doc 19     Filed 12/03/18 Entered 12/03/18 12:50:55             Desc Main
                                    Document     Page 4 of 4


       11.   Cause exists to extend both deadlines, because, as set forth above, the Trustee requires

additional time to obtain and review information and to further investigate and evaluate whether or

not grounds may exist for an objection to the Debtor’s discharge and/or exemptions.

                                             NOTICE
       12.   Notice of this Motion was provided to: (a) the Debtors; (b) the Debtor’s counsel; (c) the

Office of the United States Trustee; and (d) all parties that have requested or receive notice through

CM/ECF. In light of the nature of the relief requested, the Trustee requests that the Court find the

notice provided for herein sufficient under the circumstances and waive and dispense with any further

notice requirements.

       WHEREFORE, the Trustee requests that the Court enter an order:

       (a)     Extending the date by which the Trustee may timely object to the Debtor’s claim of

               exemptions to and including March 3, 2019;

       (b)     Extending the date by which the Trustee may timely object to the Debtor’s discharge

               to and including March 3, 2019; and

       (c)     Granting such further relief as the Court deems just and proper.

                                               DAVID P. LEIBOWITZ, not individually, but as
                                               the Chapter 7 Trustee of the Debtor’s Estate

                                               By:   /s/ David P. Leibowitz
                                                      David P. Leibowitz (ARDC # 1612271)
                                                      Law Offices of David P. Leibowitz, LLC
                                                      53 West Jackson Boulevard, Suite 1115
                                                      Chicago, IL 60604
                                                      (312) 360-1501
